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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    COMMONWEALTH OF PENNSYLVANIA,
    et al.,
                        Plaintiffs,

    v.                                                   No. 1:20-cv-1468-CJN

    MITCHELL ZAIS, in his official capacity
    as Acting Secretary of Education et al.,
                                      Defendants,

    FOUNDATION FOR INDIVIDUAL
    RIGHTS IN EDUCATION, et al.,
                    Defendant-Intervenors.




         DEFENDANT-INTERVENORS’ CROSS-MOTION FOR SUMMARY JUDGMENT

         Pursuant to Fed. R Civ. P. 56 and LCvR 7(h), Defendant-Intervenors Foundation for Individual

Rights in Education, Independent Women’s Law Center, and Speech First, Inc., hereby move the Court

to enter summary judgment in their favor. For the reasons stated in the accompanying Memorandum,

Defendant-Intervenors respectfully submit that summary judgment is proper because the challenged rule’s

protections are already required by the First and Fourteenth Amendments. Furthermore, the Department

of Education’s exhaustive and reasoned rulemaking process indicates the challenged rule is neither

arbitrary nor capricious. Further, notwithstanding Plaintiffs’ arguments, the Department of Education’s

rule complies with Title IX by effectuating its purposes, and the rule complies with the Administrative

Procedure Act’s notice requirement. A proposed order is attached.
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Dated: January 19, 2021                Respectfully submitted,


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